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                             Exhibit A
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                                               #: 5074



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK


 TROOPER 1,

                                   Plaintiff,

             v.                                       22-cv-00893 (LDH) (TAM)

 NEW YORK STATE POLICE, ANDREW
 CUOMO, MELISSA DEROSA and RICHARD
 AZZOPARDI,

                                   Defendants.

                         [PROPOSED] ORDER GRANTING LEAVE
                        TO WITHDRAW AS ATTORNEY OF RECORD

         The Court, having considered the Motion and Declaration of Joseph Stern to withdraw as

 an attorney of record for Defendants Melissa DeRosa and Richard Azzopardi, and finding that

 there are satisfactory reasons for withdrawal and that the requirements of Local Rule 1.4 are

 otherwise satisfied, it is hereby

         ORDERED that Joseph Stern is granted leave to withdraw as an attorney of record for

 Melissa DeRosa and Richard Azzopardi; and it is further

         ORDERED that the Clerk shall terminate Joseph Stern as an attorney of record for

 Melissa DeRosa and Richard Azzopardi and remove his name and email address from the

 official docket of this action.



 Signed this ____ day of ____________, 2023.


                                                      JUDGE LASHANN DEARCY HALL
                                                      UNITED STATES DISTRICT JUDGE
